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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF ARKANSAS
                                LITTLE ROCK DIVISION

IN RE: JAMES EDWARD TOMASSINI and                                      CASE NO. 4:18-bk-12259 T
       MICHELLE SUSANNE TOMASSINI
       Debtors                                                                          CHAPTER 7

                     INTERROGATORIES PROPOUNDED TO DEBTOR

       The Trustee, Frederick S. Wetzel, III, propounds the following interrogatories to be

answered by the Debtor, James Edward Tomassini, as per Motion and Order - Doc # 33 and 44.

       INTERROGATORY NO. 1: Please state your name, current address, and telephone number.



       INTERROGATORY NO. 2: Did you assist your attorney in the preparation of the

documents fi led in this case? If not an attorney, who assisted you in preparation of

documents?



       INTERROGATORY NO. 3: Are the documents true and correct to the best of your

information, knowledge and belief? Is the address of your current employer correctly listed in the

schedules?



       INTERROGATORY NO. 4: Did you list all of the property you own or are entitled to

receive?



       INTERROGATORY NO. 5:            Did you list all the creditors to whom you owe money?



       INTERROGATORY NO. 6: Other than your ordinary monthly payments and expenses,
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did you pay any of your creditors in full during the ninety (90) days before you filed your case?



       INTERROGATORY NO. 7: Other than your ordinary monthly payments and expenses or

ordinary gifts to your family members, in the last three (3) years preceding the filing of your case

did you transfer money or property to anyone for any other reason?



       INTERROGATORY NO. 8: Does anyone have anything belonging to you?



       INTERROGATORY NO. 9: Do you have anything that belongs to someone else?



       INTERROGATORY NO. 10: Do you know if you will receive money or property from a

life insurance contract, inheritance, or personal injury claim within six (6) months after filing

this case?



       INTERROGATORY NO. 11: Is your Social Security number correctly reported on your

petition?



       INTERROGATORY NO. 12: Have you previously filed bankruptcy? If so, when, and did

you receive a discharge?



       INTERROGATORY NO. 13: Have you provided your most recent tax returns (for tax year

2017) to the Chapter 7 Trustee?
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       INTERROGATORY NO. 14: (Directed to Debtor’s Attorney): Do you agree this case

should be reported as a no-asset case?



                                                Respectfully submitted,


                                         By:    /s/ Frederick S. Wetzel, III ____________
                                                FREDERICK S. WETZEL, III, Trustee
                                                200 North State Street, Suite 200
                                                Little Rock, Arkansas 72201-1399
                                                (501) 663-0535 (Telephone)
                                                (501) 372-1550 (Facsimile)




                                  CERTIFICATE OF SERVICE

       I, Frederick S. Wetzel, III, do hereby certify that a copy of the foregoing Interrogatories
have been mailed with sufficient postage and provided electronically or via U.S. Mail to the following
on November 16, 2018:

Charles W. Tucker,
U.S. Trustee
200 W. Capitol, Suite 1200
Little Rock, AR 72201

James Edward Tomassini
Michelle Susanne Tomassini
2109 Cliffwood Road
Little Rock, AR 72206


                                               /s/ Frederick S. Wetzel, III
                                               Frederick S. Wetzel, III, Trustee
